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                                                                           FILED
                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA                           FEB 28 2018
                           MISSOULA DIVISION                                 Clerk, U.S Courts
                                                                             District Of Montana
                                                                              Missoula Division


 ROBERT MYERS,                                     CV 17-59-M-DWM-JCL

                      Plaintiff,
                                                             ORDER
        vs.

 WILLIAM E. FULBRIGHT, in his
 official capacity as the County
 Attorney for Ravalli County;
 TIMOTHY C. FOX, in his official
 capacity as Attorney General for the
 State of Montana,

                      Defendants.


      United States Magistrate Judge Lynch entered a Findings and

Recommendation on January 30, 2018, recommending the Court deny the

defendants' motion to dismiss this action for lack of standing pursuant to Federal

Rule of Civil Procedure 12(b)(l). (Doc. 38.) Because no objections were filed,

Judge Lynch's conclusions are reviewed for clear error. McDonnell Douglas

Corp. v. Commodore Bus. Mach. , Inc., 656 F.2d 1309, 1313 (9th Cir. 1981). Clear

error exists if the Court is left with a "definite and firm conviction that a mistake

has been committed." Concrete Pipe & Prods. of Cal. , Inc. v. Constr. Laborers


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Pension Trust for S. Cal., 508 U.S. 602, 623 (1993) (internal quotation marks

omitted). Judge Lynch did not clearly err in determining that Plaintiff Robert

Myers has Article III standing to bring both his as-applied and facial challenges to

Montana's criminal defamation statute, Mont. Code Ann.§ 45-8-212.

      Accordingly, IT IS ORDERED that Judge Lynch's Findings and

Recommendation (Doc. 38) is ADOPTED-IN-FULL.

      IT IS FURTHER ORDERED that the defendants' motion to dismiss (Doc.

13) is DENIED.

      Dated this   ~e:-ay of February, 2018.

                                                     olloy, District Judge
                                                     District Court




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